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                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,

                 Plaintiff,
     vs.                                 Case No. 04-40093-01-RDR

DETRECK WARDELL GOLES,

                 Defendant.


                         MEMORANDUM AND ORDER

     On May 6, 2005 the court sentenced the defendant.                         The

purpose of this memorandum and order is to memorialize the

rulings made by the court during the sentencing hearing.

     The defendant entered a plea of guilty to distribution of

5.88 grams of crack cocaine in violation of 21 U.S.C. § 841(a)

on   January    31,   2005.      Following      the    preparation       of    the

presentence report, the defendant filed two objections to it.

ROLE IN THE OFFENSE

     The defendant contends that he is entitled to a reduction

of his offense level based upon his role in the offense.                        He

asserts that he was less culpable than his co-defendant and that

he is entitled to a two-level reduction under U.S.S.G. § 3B1.2

as a minor participant.        The government has not responded to the

defendant’s objection.         The probation office believes the facts

show that a role adjustment is not warranted.

     Pursuant    to   U.S.S.G.     §   3B1.2,     a   court      can   reduce    a
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defendant’s       offense        level      for           being     a    minor     or     minimal

participant in a criminal scheme.                         According to the Commentary,

“this     guideline       is     not      applicable              unless      more      than    one

participant was involved in the offense,” U.S.S.G. § 3B1.2,

comment.    (n.     2),    and      it    provides          a     reduction       only    for    “a

defendant who plays a part in committing the offense that makes

him substantially less culpable than the average participant.”

U.S.S.G. § 3B1.2, comment. (n. 3(A)).                           Accordingly, the inquiry

must “focus upon the defendant’s knowledge or lack thereof

concerning the scope and structure of the enterprise and of the

activities of others involved in the offense.”                             United States v.

Calderon-Porras, 911 F.2d 421, 423-24 (10th                                Cir. 1990). The

defendant     has    the       burden      of     proving          his    minor      or   minimal

participation.           United States v. Harfst, 168 F.3d 398, 401-02

(10th Cir. 1999).          A defendant’s own testimony that others were

more heavily involved in a criminal scheme may not suffice to

prove his minor or minimal participation, even if uncontradicted

by other evidence.             See, e.g., United States v. Onheiber, 173

F.3d    1254,     1258     (10 th    Cir.       1999)       (holding       defendant’s          own

testimony that he was “merely a middleman in the transaction,

hired to bring the drugs to another contact, and that he had

limited     knowledge          of    and        control           over    the     transaction”

insufficient        to    prove          that        he    was     a     minor     or     minimal


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participant).

      The court is not persuaded that defendant is entitled to a

reduction for his role in the offense.                  The defendant was

actively involved in the various sales of cocaine and cocaine

base to the confidential informant.            He made the first sale to

the confidential informant directly.            He coordinated the other

sales      between   his     nephew,   co-defendant       Lawrence      Cordell

Washington, and the confidential informant.                Accordingly, the

court shall not reduce the defendant’s offense level for role in

the offense.

DOWNWARD DEPARTURE

      The defendant suggests that the court should consider                     a

departure from the guideline sentence because six of his seven

criminal history points stem from convictions that occurred 13

years before the prior offense.            The defendant notes that if he

did not receive these points, his criminal history category

would be I and his sentence would be substantially reduced.                   The

government has not responded to this request.                   The probation

office does not believe a departure is warranted based upon this

argument.

      The court agrees with the probation office that a departure

is   not    justified   on   this   basis.     The   defendant’s      criminal

history has been properly calculated.            The defendant is correct


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that most of his prior offenses are older, but they are within

the time period established by the Sentencing Commission for the

determination of criminal history points.             Moreover, while the

defendant is correct that these prior convictions are not drug-

related, some of them are crimes of violence.                     Under these

circumstances, the court does not believe that a departure is

appropriate.




CONCLUSION

       In determining the sentence imposed, the court carefully

consulted the application of the guidelines and has taken them

into   account.      The   court   has    decided   that   the    appropriate

sentence for this case is 60 months.            The court believes that

this sentence will meet the sentencing objectives of deterrence,

punishment,     rehabilitation,      and    protection     of    the    public.

Further, the court believes that this is a fair and reasonable

sentence, and it is a sentence sufficient, but not greater than

necessary, to comply with the aforementioned sentencing purposes

in light of all of the circumstances in this case, including the

nature and circumstances of the offense and the history and

characteristics of the defendant.

       IT IS SO ORDERED.


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Dated this 11th day of May, 2005 at Topeka, Kansas.



                             s/Richard D. Rogers
                             United States District Judge




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